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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 United States of America                                                       Protective Order

                    V.                                                      S2 24 Cr. 231 (KMK)

 CRISTIAN MERAN,
   a/k/a "Mijari,"
   a/k/a "Chakra,"
   a/k/a "Saca,"
 NAZARIO ROLON,

                              Defendants.



         Upon the application of the United States of America, with the consent of the undersigned

counsel, and the defendants having requested discovery under Fed. R. Crim. P. 16, the Court

hereby finds and orders as follows:

                                            Categories

             1. Disclosure Material. The Government has made and will make disclosure to the

defendants of documents, objects and information, including electronically stored information

("ESI"), pursuant to Federal Rule of Criminal Procedure 16, 18 U.S.C. § 3500, and the

Government's general obligation to produce exc~lpatory and impeachment material in criminal

cases, all of which will be referred to herein as "Disclosure Material." The Government's

Disclosure Material may include material that (i) affects the privacy, confidentiality of individuals

and entities; (ii) would impede, if prematurely disclosed, the Government's ongoing investigation

of uncharged individuals; (iii) would risk prejudicial pretrial publicity if publicly disseminated;

(iv) may be produced with more limited redactions than would otherwise be necessary; and (v) that

is not authorized to be disclosed to the public or disclosed beyond that which is necessary for the

defense of this criminal case.




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         2. Sealed Material. Certain of the Government's Disclosure Material, referred to herein

as "Sealed Material," contains information that identifies, or could lead to the identification of,

witnesses who may be subject to intimidation or obstruction, and whose lives, persons, and

property, as well as the lives, persons and property of loved ones, will be subject to risk of harm

absent the protective considerations set forth herein.

         3. Attorney's Possession Only ("APO") Material. Certain materials in this case raise a

particular risk of affecting the privacy or safety of victims or witnesses, or the confidentiality of

ongoin19 investigations. Disclosure Material produced by the Government to the defendant or his

counsel that is designated in whole or in part as "Attorney's Possession Only" by the Government

through either (1) production by the Government in a folder, folder tree, or other container,

electronic or otherwise, that is marked with or contains in its title "Attorney's Possession Only"

or "APO", or (2) that includes a Bates or other label stating "Attorney' s Possession Only" or

"APO," shall be deemed "APO Material." Any material designated as APO Material shall also be

deemed Sealed Material.

         4. Attorney's Eyes Only ("AEO") Material. Certain materials in this case raise a more

significant risk of affecting the privacy or safety of victims or witnesses, or the confidentiality of

ongoing investigations. Disclosure Material produced by the Government to the defenda~t or his

counsel that is designated in whole or in part as "Attorney's Eyes Only" by the Government

through either ( 1) production by the Government in a folder, folder tree, or other container,

electronic or otherwise, that is marked with or contains in its title "Attorney's Eyes Only" or

"AEO", or (2) that includes a Bates or other label stating "Attorney's Eyes Only" or "AEO," shall

be deemed "AEO Material." Any material designated as AEO Material shall also be deemed

Sealed Material.




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          NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

                                        Disclosure and Treatment

          5. Disclosure Material shall not be disclosed by the defendant or defense counsel,

including any successor counsel ("the defense") other than as set forth herein, and shall be used

by the defense solely for purposes of defending this action. The defense shall not post any

Disclosure Material on any Internet site or network site, including any social media site such as

Facebook or Twitter, to which persons other than the parties hereto have access, and shall not

disclose any Disclosure Material to the media. .

          6. Sealed Material pertinent to any motion before the Court should initially be filed under

seal, absent consent of the Government or Order of the Court, and may be disclosed by defense

counsel to:

                    a. The defendant;

                    b. Personnel for whose conduct defense counsel is responsible, i.e., personnel

employed by or retained by counsel, as needed for purposes of defending this action; and

                    c. Prospective witnesses for purposes of defending this action.

          7. APO Material received by defense counsel shall be maintained in a safe and secure

manner by defense counsel and any personnel for whose conduct deferi'se counsel is responsible;

shall not be possessed by the defendant, except in the presence of the defendant' s counsel and any

personnel for whose conduct defense counsel is responsible; and shall not be disclosed in any form

by the defendant, his counsel, or any personnel for whose conduct defense counsel is responsible

except as set forth herein.

              8. AEO Material received by defense counsel shall be maintained on an attorney's eyes

only basis, and the defense shall not share any AEO Material or the content of the AEO Material




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with any other persons, including the defendant, except for any personnel for whose conduct

defense counsel is responsible.

                                            Other Provisions

         9. This Order does not prevent the disclosure of any Disclosure Material in any hearing

or trial held in this action, or to any judge or magistrate judge, for purposes of this action. All

filings should comply with the privacy protection provisions of Fed. R . Crim. P . 49 .1 and the above

prov1s10ns .

             10. The Government's designation of material will be controlling absent contrary order of

the Court. The parties shall meet and confer regarding any dispute over such designations, after

which the defense may seek de-designation by the Court. The Government may authorize, in

writing, disclosure of Disclosure Material beyond that otherwise permitted by this Order without

further Order of this Court.

             11 . The defense shall provide a copy of this Order to prospective witnesses and persons

retained by counsel to whom the defense has disclosed Disclosure Material. All such persons shall

be subject to the terms of this Order. Defense counsel shall maintain a record of what information

has been disclosed to which such persons.

             12. Except for any Disclosure Material that has been made part of the record of this case

or that the parties agree in writing shall be treated differently, the defense shall return to the

Government or securely destroy or delete all Disclosure Material, including any ESI, within 90

days of the conclusion of this criminal case, which includes (a) any civil or criminal forfeiture

proceeding, (b) direct appeal, or (c) collateral challenge (such as a petition filed under 28 U.S .C.

2255) that is commenced within one year of the exhaustion of the defendant's direct appellate

rights ; the period of direct appeal from any order dismissing any of the charges in the above-




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captioned case; or the granting of any motion made on behalf of the Government dismissing any

charges in the above-captioned case, whichever date is later, subject to defense counsel's

obligation to retain client files under the Rules of Professional Conduct. If Disclosure Material is

provided to any personnel for whose conduct defense counsel is responsible or prospective

witnesses, defense counsel shall make reasonable efforts to seek the return or destruction of such

materials.

                                         Retention of Jurisdiction

              13.-The provisions of this order shall not terminate at the -conclusion of this criminal

prosecution and the Court will retain jurisdiction to enforce this Order following termination of

the case.

AGREED AND CONSENTED TO:

     DAMIAN WILLIAMS
     United States Attorney


by   le•i/f~an
     Justin L. Brooke
                                                             Date: 7/3/2024


     Assistant United States Attorneys


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                                                             Date: 7/3/2024

     Michael K. Bachrach
     Counsel for Cristian Meran


                                                             Date:     7/3/24
     Counsel for Nazario Rolon




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SO ORDERED:

Dated: White Plains, New York
       July_§_, 2024




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